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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

  In re:                                        §   Chapter 11
                                                §
  DARYL GREG SMITH,                             §   Case No. 21-60162-rbk
                                                §
  CANADIAN RIVER RANCH, LLC                     §   Case No. 21-60163-rbk
                                                §
            Debtors.                            §   (Jointly Administered Under
                                                §   Case No. 21-60162-rbk)


            ORDER: (I) APPROVING ASSUMPTION OF SOLAR LEASE;
             (II) AUTHORIZING ENTRY INTO LEASE AMENDMENT;
   (III) PROVIDING PROTECTIONS FOR LESSEE; AND (IV) AUTHORIZING THE
   CHAPTER 11 TRUSTEE TO EXECUTE CERTAIN DOCUMENTS PURSUANT TO
     FEDERAL RULE OF CIVIL PROCEDURE 70, MADE APPLICABLE TO THIS
  PROCEEDING THROUGH FEDERAL RULE OF BANKRUPTCY PROCEDURE 7070

           CAME ON FOR HEARING the Trustee’s Expedited Motion for Entry of Order:

 (i) Authorizing Assumption of Solar Lease; (ii) Authorizing Entry into Lease Amendment;

 (iii) Providing Protections for Lessee; and (iv) Authorizing the Chapter 11 Trustee to Execute

 Certain Documents Pursuant to Federal Rule of Civil Procedure 70, Made Applicable to this

 Proceeding through Federal Rule of Bankruptcy Procedure 7070 (the “Motion”), filed in the

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 above styled and numbered jointly administered Chapter 11 case (the “Bankruptcy Cases”) by

 Greg Milligan, in his capacity as Chapter 11 Trustee for the estates of Daryl Greg Smith (“Smith”)

 and Canadian River Ranch, LLC (“CCR”, with Smith, the “Debtors”), the debtors and Plaintiffs

 herein.

           Based upon the evidence at said hearing, the Court makes the following findings of fact

 and conclusions of law1:

           1.       On April 9, 2021, the Debtors filed their voluntary petitions for relief under

 Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), thereby creating their

 respective bankruptcy estates and initiating the Bankruptcy Cases. Smith’s bankruptcy estate is

 defined hereby as the “Smith Estate” and CCR’s bankruptcy estate is defined as the “CCR

 Estate”. The Smith Estate and the CCR Estate are collectively referred to as the “Estates”.

           2.       On June 29, 2021, an order was entered approving the appointment of Gregory S.

 Milligan as Chapter 11 Trustee (the “Trustee”) for the Estates. The Trustee has the duties set forth

 in sections 1106 and 1108 of the Bankruptcy Code.

           3.       Caddoa Creek Ranch, LLC (“Caddoa”) is a Colorado limited liability company,

 90% owned by Smith and 10% owned by Darren Keith Reed (“Reed”).

           4.       On or about October 31, 2017, Caddoa, as landlord, and Angus Solar, LLC

 (“Angus”), as tenant, entered into that certain Ground Lease Agreement (the “Lease”), as amended

 by the First Amendment to Ground Lease Agreement dated July 22, 2020. The Lease relates to a

 proposed solar energy farm to be built and owned by Angus, or its affiliates, on certain land then

 owned by Caddoa, specifically: up to 1,300 acres, plus or minus, of real property located


 1
  The findings and conclusions set forth herein and in the record of the Hearing constitute the Court’s findings of fact
 and conclusions of law under Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by
 Bankruptcy Rules 7052 and 9014. To the extent any of the following conclusions of law constitute findings of fact, or
 vice versa, they are adopted as such.

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 approximately 1 mile west of County Road 2490 and near the City of Valley Mills, Bosque County,

 Texas, within Property ID Number R07041, R25530, R06132, R25531, R25559, R06131, R35349,

 R35348, R06101, R25533, R05181, R06113, R25532, and R35350 (collectively, the “Subject

 Property”).

          5.        On June 28, 2019, Caddoa and Angus executed that certain Memorandum of Lease,

 which Angus caused to be filed with Bosque County (the “County”) and recorded against title to

 the Subject Property as instrument number 2019-02195 (the “Lease Memorandum”).

          6.        The Subject Property is more fully described on Exhibit “A” to the Lease and on

 Exhibits “A” and “B” to the Lease Memorandum and, in all events, the Subject Property as defined

 and identified in the Lease and the Lease Memorandum will control.

          7.        The recording of the Lease Memorandum against title to the Subject Property gives

 Angus an encumbrance, enforceable against the world, against the Subject Property, as well as

 easement interests in and to the Subject Property. Pursuant to Texas law and the terms of the

 Lease, any transfer by Caddoa of its interests in the Subject Property or the Lease shall remain

 subject to the Lease.

          8.        Separately, and after extensive divorce proceedings between Smith and his ex-wife,

 Karen Annette Smith (“K. Smith”), on November 27, 2019, the 325th Judicial District Court for

 Tarrant County, Texas (the “State Court”) entered that certain Final Decree of Divorce (the

 “Judgment”) in Cause No. 325-584465-15 (the “State Court Proceeding”). The Judgment has

 not been stayed, although it remains subject to potential appeals and discretionary review, none of

 which are prejudiced by anything contained in this Order except that, notwithstanding anything

 that may occur in connection with the Judgment or the State Court Proceeding, in no event shall




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 any right, title, or interest of Angus in and to the Subject Property and recognized in or conferred

 by this Order be prejudiced.

          9.        Among other things, the Judgment ordered Smith to (a) vote his interest in Caddoa

 to dissolve Caddoa, and (b) cause Caddoa to transfer the Subject Property to Smith and to Reed

 individually, with Smith holding a 90% undivided interest in the Subject Property and Reed

 holding the remaining 10% undivided interest in the Subject Property. The Judgment orders that

 such transfers and the 90% interest that Smith held in the Subject Property would be subject to a

 lien in favor of K. Smith to secure the Judgment.

          10.       Smith did not comply with the Judgment’s order to effectuate the foregoing

 transfers. Accordingly, through subsequent proceedings in the State Court Proceeding, the State

 Court appointed Stanley W. Wright (“Wright” or the “Receiver”) as a receiver for Smith for the

 limited purposes of (a) effectuating the transfers of certain properties (the “Properties”), including

 the Subject Property, to Smith and to Reed and (b) recording deed of trust liens against such

 Properties, including the Subject Property, in favor of K. Smith to secure the Judgment (the “K.

 Smith Liens”).

          11.       Thereafter, on or about February 7, 2020, Wright, acting on the instructions of the

 State Court and in the stead of Smith, executed and caused to be recorded that certain Special

 Warranty Deed (the “Transfer Deed”) to effectuate the transfer of the Subject Property to Smith

 and to Reed. Upon the execution and recording of the Transfer Deed, the State Court discharged

 Wright as Receiver, which terminated his authority to act as a receiver granted to him by the State

 Court.

          12.       The Transfer Deed provides that the “grantee” is “Stanley W. Wright, not in his

 individual capacity, but solely in his capacity as court-appointed receiver . . . for and on behalf of


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 Daryl Greg Smith.” The Transfer Deed also transferred an undivided ten percent (10%) interests

 in the Subject Properties to Reed.

          13.       The splitting of legal title and equitable title on account of the requirement that

 Wright execute the Transfer Deed led to confusion and concern as to the Estates’ ability, absent

 the resolutions hereinafter provided, to provide clean title to and thus monetize the Subject

 Property.

          14.       Prior to the appointment of the Trustee, the Debtors requested that Wright file a

 corrected Transfer Deed pursuant to the Judgment; however, Wright lacks the authority to do so

 because he has already been discharged as Receiver pursuant to the order that appointed him. As

 a result, Wright, in his capacity as Receiver (the capacity in which he executed the Transfer Deed),

 is legally incapable of executing and filing a corrected Transfer Deed and therefore cannot

 effectuate a corrected Transfer Deed.

          15.       Nothing in this Order shall constitute any finding or conclusion with respect to any

 heretofore made assertions by the Debtors as to the appropriateness or lawfulness of the State

 Court’s actions, orders, or Judgment, and all rights regarding the same, including on any appeal or

 ancillary litigation for discretionary review, are preserved; except that, notwithstanding anything

 that may occur in connection with the Judgment or the State Court Proceeding, in no event shall

 any right, title, or interest of Angus, and its successors and assigns, in and to the Subject Property

 and recognized in or conferred by this Order, the Lease or the Lease Amendment be prejudiced.

          16.       All interests of Smith in Caddoa and in the Subject Property are property of the

 Smith Estate.

          17.       All rights of Smith as the 90% owner of the Subject Property under the Lease are

 property of the Smith Estate and all obligations under the Lease are obligations of the Smith Estate,


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 pursuant to the terms of the Lease, the recording of the Lease Memorandum, and section 102(2)

 of the Bankruptcy Code. The transfer of the Subject Property to Smith and Reed, and the granting

 of the K. Smith Liens, are all subject to the Lease, and all rights under the Lease are superior to

 the rights of K. Smith under the K. Smith Liens because the Lease Memorandum is recorded and

 is prior in time.

          18.       The Lease is an unexpired lease or executory contract of the Smith Estate, since it

 is a pre-existing charge and encumbrance against the Subject Property, and since the transfer of

 the Subject Property from Caddoa to Smith was expressly subject to the Lease pursuant to the

 terms of the Lease and the Lease Memorandum. As such, and even though Smith is not a party to

 the Lease, the Lease is a “lease of the debtor” within the meaning of section 365 of the Bankruptcy

 Code.

          19.       The assumption of the Lease is a proper exercise by the Trustee of his business

 judgment, and such assumption is in the best interests of the Smith Estate.

          20.       The Trustee, Smith, Reed, and Angus have prepared that certain Second

 Amendment to Ground Lease (the “Lease Amendment”) to clarify the ownership of the Subject

 Property, the identity of the lessor, and the rights of Angus. Entering into the Lease Amendment

 is a proper exercise by the Trustee of his business judgment and entering into the same is in the

 best interests of the Smith Estate.

          21.       All prerequisites and conditions to the assumption of the Lease and to the entry into

 the Lease Amendment have been satisfied. The Lease, as amended by the Lease Amendment,

 shall be referred to herein as the “Amended Lease”. Subject to the rights of Angus, Smith and

 Reed under this Order, the Amended Lease shall remain assignable by Smith and the Smith Estate




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 to Caddoa, and the Subject Property shall remain subject to potential transfer by Smith and the

 Smith Estate to Caddoa, subject to the rights of K. Smith under the K. Smith Liens.

          22.       Angus is leasing property of the Smith Estate under the Amended Lease and this

 Order in good faith, for reasonably equivalent value, and without any collusion, bad faith, or secret

 agreement. Accordingly, Angus is entitled to the full protections of section 363(m) of the

 Bankruptcy Code.

          23.       The Court has jurisdiction over the Motion and all matters in this Order under

 28 U.S.C. § 1334. Such jurisdiction is core under 28 U.S.C. § 157(b)(2). Venue of the Bankruptcy

 Cases before this Court is proper under 28 U.S.C. §§ 1408 and 1409.

          24.       Due, sufficient, and proper notice of the Motion and of the hearing thereon was

 provided by the Trustee to all parties with an interest in the Motion and this Order, including, but

 not limited to, Smith, K. Smith, Reed, Caddoa, Angus, and Wright. Cause exists to grant all relief

 provided for in this Order, and such relief is in the best interests of the Estates. Any factual

 predicates for granting any such relief have been satisfied.

          25.       Notwithstanding the potential retention of legal title in and to the Subject Property

 by Wright, the Court has exclusive in rem jurisdiction over the whole of the Subject Property under

 28 U.S.C. § 1334(e), including to make all findings of fact and conclusions of law, and to cause

 this Order to be recorded against the Subject Property and to be enforceable against the same both

 in rem and in personam as against all parties. The Court has the authority to enter this Order

 pursuant to 11 U.S.C. §§ 105(a), 363, 365, and 543, and Rule 70 of the Federal Rules of Civil

 Procedure made applicable by Bankruptcy Rule 7070.

          ACCORDINGLY,            it   is   hereby   ORDERED,       ADJUDGED,        DECREED,        and

 DETERMINED :


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             That the Motion is GRANTED as set forth herein;

        I.        Matters Regarding the Lease

             A.      The Amended Lease is ASSUMED by the Estate and shall be binding on the Estate

 according to its terms;

             B.      The Lease Amendment is APPROVED and the Trustee is authorized and directed

 to execute and deliver the Lease Amendment in the form attached hereto as Exhibit 1, whereafter

 the same or a memorandum thereof may be recorded against the Subject Property by either the

 Trustee or Angus;

             C.      With the assumption of the Amended Lease, all rights, powers, interests, title, and

 obligations of Angus and its successors and assigns under the Amended Lease shall be fully

 enforceable as against the world, including, without limitation, against Smith, the Estates, Reed,

 Wright and K. Smith, and fully enforceable against the Subject Property in rem, notwithstanding

 any absence by them of any approval of any transaction provided for herein or in the Amended

 Lease, such approval not being required given the Court’s exclusive in rem jurisdiction over the

 Subject Property;

             D.      The Trustee is authorized to execute and deliver any additional amendments,

 estoppels, affidavits or other documents as may be reasonably required for Angus to obtain

 financing for the construction and operation of the solar facility to be located on the Subject

 Property, including any such documents as may be required for Angus’ title company (the “Title

 Company”) to issue a title policy insuring Angus’ leasehold interest in the Subject Property and

 insuring the lien of Angus’ construction lender against such leasehold interest;

             E.      To the extent that the Amended Lease requires further modification or amendment

 in order to effectuate the economic terms set forth therein, for so long as the Trustee is authorized


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 to act on behalf of the Debtors, the Trustee shall be authorized to take all actions as Landlord

 pursuant to the Amended Lease (and as defined therein). From and after the date the Trustee is no

 longer authorized to act on behalf of the Debtors, then Smith (or his legal successor) shall be

 authorized to take all actions as Landlord pursuant to the Amended Lease.

             F.      Reed, Caddoa, Wright and K. Smith, and all transferees and assigns thereof, and all

 agents, attorneys, and representatives thereof, are PERMANENTLY ENJOINED and

 PROHIBITED from contesting, questioning, or challenging - whether by legal process (except

 through appealing this Order), by recording any instrument against the Subject Property, by taking

 any action before any governmental authority, or by making any public statement - any and all

 rights, interests, and title of Angus and its successors and assigns under the Amended Lease, and

 any and all rights, title, and interest of Angus and its successors and assigns in and to the Subject

 Property.

       II.        Seniority of Amended Lease

             G.      The rights of Angus and its successors and assigns shall in all respects be superior

 to the rights of K. Smith or any other purported lienholders in respect of the Subject Property. The

 Trustee, K. Smith and Angus are hereby authorized and directed to deliver and execute the

 Subordination Agreement attached hereto as Exhibit 2.

             H.      Reed, Caddoa, Wright and K. Smith, and all transferees and assigns thereof, and all

 agents, attorneys, and representatives thereof are PERMANENTLY ENJOINED and

 PROHIBITED from exercising in any way any legal title that any such party may have in the

 Subject Property to contest, challenge, question, seek to limit, or seek to take away any and all

 rights of Angus and its successors and assigns under the Lease or Lease Amendment, or in and to

 the Subject Property;


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           I.        Nothing herein prejudices any and all rights of K. Smith on account of the K. Smith

  Liens, subject to the automatic stay, and nothing herein enjoins K. Smith from exercising all rights

  under the K. Smith Liens, subject to the automatic stay, except that, for the avoidance of any doubt,

  any foreclosure by K. Smith of any lien against the Subject Property shall be subject to all rights,

  interests, and title of Angus and its successors and assigns in and to the Subject Property;

           J.        Nothing in this Order recognizes or calls into question the validity, extent, and

  priority of the K. Smith Liens, or prejudices any and all issues, arguments, and rights regarding

  the same, including any and all rights of the Trustee to challenge the same as may be otherwise

  appropriate.

       III.     Reservation of Rights

           K.        Without necessarily deciding that any proceeds of the Lease and Lease Amendment

  are “cash collateral” under section 363(a) of the Bankruptcy Code, to the extent that the Trustee

  receives such proceeds, all rights under section 363 of the Bankruptcy Code with respect to any

  holder of an interest in cash collateral are preserved, and the Trustee shall not use any such

  proceeds pending the entry of further order of the Court;

           L.        In light of Reed having consented to the entry of this Order and to the Lease

  Amendment, no further proceeding with respect to Reed’s interest in the Subject Property is

  necessary, and Reed retains any and all rights he has with respect to any proceeds of the Lease and

  Lease Amendment, which rights shall not constitute cash collateral with respect to his 10%

  undivided interest, provided that in no event shall Reed have any rights or claims against Angus

  or its successors and assigns for any proceeds of the Lease or Lease Amendment if Angus performs

  thereunder by sending any applicable payments to the Trustee, or if the Trustee is no longer

  authorized to act on behalf of the Debtors, to Daryl Greg Smith;


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             M.      Smith reserves the right to seek to convey his interest in the Subject Property to

  Caddoa under a potential Chapter 11 plan or otherwise, and nothing in this Order prejudices or

  prevents any issue with respect to the same;

             N.      This Order may be recorded against the Subject Property, and the County is directed

  and ordered to accept the same for recording, whereafter this Order shall govern and control as to

  all issues expressly provided for herein, and shall be binding on the world.

       IV.        Corrective Transfer Deed

             O.      The Trustee, pursuant to Rule 70 of the Federal Rules of Civil Procedure, made

  applicable by Bankruptcy Rule 7070, is authorized and directed to deliver and execute the

  corrected Transfer Deed (the “Corrected Transfer Deed”) attached hereto as Exhibit 3.

        V.        Miscellaneous

             P.      Effectiveness of All Actions. All actions contemplated by this Order are hereby

  authorized to be taken without further application to or order of the Court.

             Q.      Approval of Payment Satisfaction Documents. The Bankruptcy Court approves

  the Lease Amendment, the Subordination Agreement and the Corrected Transfer Deed

  (collectively, the “Approved Documents”). The Trustee shall have no personal liability for

  executing the Approved Documents. The Trustee is authorized to execute and deliver such other

  documents as Angus, its successors or assigns, or the Title Company may deem necessary to

  implement the transactions contemplated by the Lease Amendment, and shall perform, execute,

  and deliver or cause to be delivered and undertake any and all further acts, deeds, and assurances

  as may reasonably be required to consummate the transactions contemplated in the Lease

  Amendment.




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           R.        Effect of Conflict. The provisions of the Lease Amendment and this Order shall

  be construed in a manner consistent with each other so as to effect the purpose of each; provided,

  however, that if there is determined to be any inconsistency between any provision of the Lease

  Amendment and any provision of this Order that cannot be so reconciled, then solely to the extent

  of such inconsistency, the provisions of this Order shall govern and any provision of this Order

  shall be deemed a modification of the Lease Amendment and shall control and take precedence.

  The provisions of this Order are integrated with each other and are non-severable and mutually

  dependent.

           S.        The order authorizes the use, sale or lease of property and this order shall be

  immediately effective upon entry and shall not be stayed pursuant to Bankruptcy Rule 6004(h).

           T.        This Court shall retain jurisdiction to the maximum extent possible to interpret and

  to enforce this Order.

                                                     ###




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  APPROVED AS TO FORM AND CONTENT, AND ENTRY REQUESTED BY:

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